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    Certain Underwriters at Lloyds of London and Republic Vanguard Insurance Company


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                          )          Chapter 11
                                                    )
    CELSIUS NETWORK LLC, et al.,1                   )          Case No. 22-10964 (MG)
                                                    )
                            Debtors.                )          (Jointly Administered)
                                                    )

    REPLY OF EUCLID FINANCIAL INSTITUTION UNDERWRITERS, LLC, A DULY
    AUTHORIZED AGENT OF CERTAIN UNDERWRITERS AT LLOYDS OF LONDON
      AND REPUBLIC VANGUARD INSURANCE COMPANY IN SUPPORT OF ITS
       MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO THE EXTENT
                              APPLICABLE



             Euclid Financial Institution Underwriters, LLC (“EFIU”), a duly authorized agent of

Certain Underwriters at Lloyds of London and Republic Vanguard Insurance Company

(collectively “Underwriters”) submits this reply (“Reply”) in further support of its motion pursuant

to 11 U.S.C. § 362(d) and Bankruptcy Rule 4001(a) for relief from the automatic stay to the extent


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited (0893). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
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applicable, for the purpose of the advancement and/or payment of certain defense costs under a

Directors & Officer’s Liability and Corporate Securities Liability insurance policy (the “Policy”)

issued by Underwriters to one of the Debtors, namely, Celsius Network, Inc. (“Celsius Network”)

for certain defense costs being incurred by the insured persons of the Debtor and its subsidiaries

(collectively, “Celsius”) [Doc. 2585], and in response to the Debtors’ Limited Objection and

Reservation of Rights Regarding Euclid Financial Institution Underwriters. LLC’s Motion for

Relief From Automatic Stay [Doc. 2842] (the Debtors’ Limited Objections”), The Official

Committee of Unsecured Creditors’ Limited Objection to Euclid Financial Institution

Underwriters, LLC, a Duly Authorized Agent of Certain Underwriters at Lloyds of London and

Republic Vanguard Insurance Company for Relief From the Automatic Stay to the Extent Possible

and Motion of Joinder Shlomi Daniel Leon and Aliza Landes [Doc. 2839] (the “Committee’s

Objections”) and Objection to Underwriters Motion to Lift Stay filed by filed by Victor Ubierna

de las Heras, Pro Se Creditor [Doc. 2849] (the “Heras Objection”) (collectively” the Objections”)

respectfully states as follows:


                                   PRELIMINARY STATEMENT

        1.     The Objections largely do not refute the facts or legal arguments set forth in

Underwriters’ motion to lift stay and plainly acknowledge the well-developed case law which

supports the relief sought in Underwriters’ motion, including this Court’s decisions in In re MF

Global, 469 B.R. 177, 191 (S.D.N.Y. 2012), and most recently in In re SVB Bank Financial Group,

650 B.R. 790 (S.D.N.Y. 2023). In both cases, this Court found that the law in this jurisdiction and

others has consistently found that relief from the automatic stay should be granted to permit insurers

to fund Defense Costs in such instances as presented herein. In fact, the limited objections filed by

the Debtors and the Committee of Unsecured Creditors do not dispute that Underwriters should be


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entitled to advance reasonable and necessary covered Defense Costs under Side A of the Policy

with its priority of payments provision because the Individual Insureds are incurring fees and costs

in connection with the multiple pending subpoenas, lawsuits and government investigations for

which they are not receiving indemnification from the Debtor. They nevertheless incorrectly seek

to have the Court impose certain conditions and restrictions on Underwriters’ payment of Defense

Costs, including that Defense Costs be paid on a pro rata basis and that, as a prerequisite to any

payment of Defense Costs, the Individual Insureds seeking payment first agree to the jurisdiction

of the court for “all purposes”, neither of which is provided for by the Policy. The Heras Objection

simply offers no justifiable legal basis to explain why this Court should not grant Underwriters’

motion and wholly ignores the well-established precedents set forth in MF Global and SVB Bank

and generally argues that the proceeds of the Policy are an asset of the Estate and may be needed

for a successful restructuring in the Chapter 11 case.


                                          ARGUMENT

  I.   Underwriters are Entitled to Relief from the Automatic Stay, to
       the Extent it Applies, for the Advancement and Payment of the Individual
       Insureds’ Defense Costs.



       2.      The Objections to the instant motion do not take issue with or seek to challenge that

the Individual Insureds are facing a significant number of lawsuits, arbitrations, demand letters,

subpoenas, formal letters announcing investigations and/or requests for documents or information

from federal and state agencies, regulators and attorneys general. Underwriters have received

numerous notices seeking coverage under the Policy on behalf of the directors, officers and certain

employees of the Debtors in connection with the lawsuits and investigations that are now pending,

including multiple requests from Individual Insureds requesting the payment of Defense Costs


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incurred in connection with the aforementioned investigations, lawsuits and arbitration

proceeding. Although Underwriters have reserved their rights to deny and/or limit coverage for

these matters under the Policy, they are agreeable at this time to advancing those reasonable

Defense Costs incurred by those Individual Insureds that are potentially covered subject to their

full reservation of rights under the Policy, including those set forth in Section VI of the Policy.

[Doc. 2585, pp. 3-5] and “cause” exists for granting relief from the stay in order to permit

Underwriters to advance Defense Costs on behalf of the Individual Insureds under the Policy.

       3.       As detailed in Underwriters’ motion [Doc. 2585, at pp. 12-15], the Policy provides

coverage to Individual Insureds who have a present need for payment of their Defense Costs that

outweighs the Debtors’ need for coverage. There is well-established case law that directors’ and

officers’ insurance policies, such as the Policy at issue here, exist primarily for the purpose of

protecting directors and officers. See Ochs v. Lipson (In re First Central Financial Corp.), 238 B.R.

9, 16 (Bankr. E.D.N.Y. 1999) (“D & O policies are obtained for the protection of individual

directors and officers . . .. In essence and at its core, a D & O policy remains a safeguard of officer

and director interests and not a vehicle for corporate protection.”); see also In re MF Glob. Holdings

Ltd., 469 B.R. at 194 (“if the Individual Insureds are not provided access to the MFGA Policies, the

Individual Insureds would be deprived of the benefits of payment of defense costs that the insurance

was intended to provide”).

       4.      Moreover, the Individual Insureds’ interests in the Policy’s proceeds should be

given priority to any interest that may be asserted by the Debtors. The Priority of Payments

provision (Section X.) of the D&O Coverage Section of the Policy expressly prioritizes providing

insurance coverage to the individual directors and officers, and there is no provision in the contract

subordinating their rights to coverage to those of the Debtors or anyone else. Even if the Debtors



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had a property interest in the Policy’s proceeds, the Priority of Payment provisions in the Policy

makes clear that the coverage potentially afforded to the Individual Insureds for non-

indemnifiable Loss must be paid prior to any payments made for matters implicating coverage

potentially provided to the Debtors for amounts they might pay as indemnification to the

Individual Insureds or for covered Claims made against them. The “Financial Insolvency of

any Company or any Individual Insured shall not relieve the Insurer of its obligations to

prioritize payment of covered Loss under the Coverage Section pursuant to this Section X.” Thus,

under the Policy, the Debtors’ potential rights to coverage are subordinated to the rights of the

Individual Insureds. (Doc. 2585, Ex.1, D&O Coverage Section pp.11-12 of 12).


 II.   Underwriters are Agreeable Certain of the Conditions to Stay Relief Proposed by
       Debtor and the Committee of Unsecured Creditors.

       5.      The Debtors and the Unsecured Creditors Committee have essentially acknowledged

that: (a) circumstances may exist in this case to warrant lifting the automatic stay, (b) Section

362(d)(1) of the Bankruptcy Code provides, in part, that “on request of a party in interest and after

notice and a hearing, the court shall grant relief from the stay provided under subsection (a) of this

section . . . for cause.” 11 U.S.C. § 362(d), (c) on multiple occasions, this Court has addressed

whether “cause” exists to lift the stay without resolving the question of whether D&O policy

proceeds are property of a Debtor’s estate. See In re MF Glob. Holdings Ltd., 469 B.R. at 187; In

re SVB Financial Group, 2023 WL 3578447 at *18 (Bankr. S.D.N.Y. May 22, 2023). The Debtors

have also acknowledged that they “are not seeking to impose a “soft cap” or otherwise limit

Underwriters from evaluating requests for Defense Costs. Rather, the Debtors are seeking to

provide all parties in interest with transparency in how the proceeds are being distributed and to

ensure that the proceeds are distributed as fairly as possible in light of the multiple claims for

coverage that have been submitted” but are seeking to impose three conditions on their agreement.

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       6.      Specifically, the Debtors and the Committee for Unsecured Creditors are

essentially requesting that the Court revise Underwriters’ proposed Order to include the following

three conditions or restrictions on Underwriters, namely, that the Revised Order include: (a) certain

additional reporting requirements on Underwriters and obtain this Court’s approval should they

seek to enter into a settlement with any of the Individual Insureds, (b) a requirement that the

Individual Insureds explicitly consent to the jurisdiction of this Court before any payment of

proceeds is made under the Policy to such Individual Insureds, and (c) a coverage allocation

scheme for “equal access’ to the Policy’s proceeds to avoid a “run on the bank,” whereby a few

parties rush to exhaust the Policy’s limited ($1,500,000) coverage to the exclusion of other

Individual Insureds. [Docs. 2839, pp.8-9 and 2842, pp. 10-11]. As set forth in more detail below,

Underwriters wholly object to certain of the above conditions, namely conditions (b) and (c).

       7.      As an initial matter, Underwriters agree to the imposition of reasonable reporting

requirements. There are currently at least twenty-three (23) Individual Insureds who are

potentially seeking coverage under the Policy. Underwriters do not object to the request that the

Revised Order imposes a requirement that Underwriters submit written quarterly updates on the

amount of Defense Costs advanced and/or paid on behalf of the Individual Insureds that would

also include counsel for the Debtors and the Committee of Unsecured Creditors. Underwriters

points out that its original proposed Order, like the order entered in MF Global, requires providing

such quarterly updates to the U.S. Trustee. Underwriters also have no objection to the content of

the reports being requested, including the names of the Individual Insureds receiving payments,

the nature of each such Individual Insureds’ claims, the amounts paid, and the amount of liability

coverage remaining on the Policy. Finally, Underwriters agree to the inclusion of a requirement in

the Revised Order that Underwriters needs to seek a further order from the Court prior to paying



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any non-Defense Costs (e.g., settlement payments). As the Court is well aware, the instant motion

is being made for the purpose of lifting the stay to allow Underwriters to only advance Defense

Costs.

         8.    Underwriters are opposed to the Debtors’ and the Unsecured Creditors

Committee’s second request that the Revised Order require Individual Insureds to explicitly

consent to the jurisdiction of this Court “for all purposes”, before any payment of Policy proceeds

is made under the Policy to such Individual Insureds. There is no legal or factual support offered

for such a requirement, and it places an unreasonable and unnecessary burden on both

Underwriters and wrongfully places a condition precedent to Underwriters’ payment of Defense

Costs which is not provided for under the Policy. Moreover, Underwriters have no ability to

unilaterally alter the terms of the Policy and therefore cannot agree to such a condition.

         9.     While the Debtors and Committee of Unsecured Creditors have argued that such a

broad condition is necessary and appropriate to preserve “all parties’ rights to enforce the

Advancement Provision” re-payment provisions, since certain Individual Insureds live out of the

United States, they have offered no legal precedent to support such a requirement to extend the

consent to jurisdiction “for all purposes”. However, the objections also signaled that it is intended

to facilitate “the proposed Chapter 11 plan of reorganization [which] contemplates a Litigation

Administrator to pursue certain causes of action, including actions against certain of the Debtors’

former directors and officers, for the benefit of the Debtors’ account holders.” Underwriters have

no involvement in the prosecution of the above. Therefore, while it seems clear that the purpose

of this request is to obtain jurisdiction not just for purposes of enforcing the repayment provision

of the Advancement Provision, but for all other possible purposes as well. Underwriters are not




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opposed to the imposition of a requirement that the Individual Insureds subject themselves to the

jurisdiction of this Court with respect to the Policy.

       10.      Finally, the Debtors and the Committee of Unsecured Creditors are requesting that

the Revised Order include a pro rata coverage allocation scheme requiring Underwriters to

evaluate all requests for coverage of Defense Costs submitted by Individual Insureds prior to

June 15, 2023 before approving and paying any Defense Costs in order to provide equal access to

the Policy’s proceeds and to avoid a “run on the bank,” whereby “certain parties” rush to exhaust

the Policy’s $1,500,000 limit to the exclusion of other Individual Insureds. The proffered

rationale for this is that given the nature of some of the claims submitted to Underwriters, they

believe there may be a higher than usual probability for the need to “claw back” some of the

Policy’s proceeds from certain Individual Insureds pursuant to the Advancement Provision.

Underwriters disagree with this proposal, since: (a) the Policy does not provide for claims of

Defense Costs to be paid on a pro rata basis, (b) it is unsupported by any legal precedent

whatsoever, and (c) the selection of June 15, 2023 as an arbitrary date may effectively freeze out

Individual Insureds who did not submit invoices prior to then. In addition, such pro rata

restrictions would likely severely distort and disrupt the orderly and efficient administration of

Claims not only under the Policy, but also the excess policies that are referenced in Debtors’

Objections [Doc. 2842, p.5] that may very well also come into play in the event the Policy’s $1.5

million Limit of Liability is exhausted.

       11.     The advancement of Defense Costs provision of the Policy (Section VI. B.) simply

does not provide for the pro rata payment of Defense Costs. (See Doc 2585, Underwriters Motion

Ex. 1, p. 9 of 12). Unless it is otherwise provided for in the insurance contract, the typical way

that claims for advancement of Defense Costs are paid under a liquidating directors and officers’



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policy is on a first come, first served basis.   See In re First Central Financial Corp., 238 B.R.

9,14 (E.D.N.Y. 1999) (“Characteristically, [D & O] policies often provide a fixed amount of

monies available for aggregate coverage, i.e., a cap, under both the reimbursement and liability

sections. In other words, payment under the policy is normally provided on a first-come, first-

served basis and each such payment reduces the total amount of coverage to pay claims.”). In

addition, the imposition of an arbitrary cut off (e.g., June 15, 2023) could prejudice certain

Individual Insureds who did not submit their invoices before that date.

       12.     Finally, the imposition of a pro rata payment scheme on Underwriters’ payment of

Defense Costs would likely severely distort and disrupt the orderly and efficient administration of

claims not only under the Policy, but also the excess policies that are referenced at page 5 of

Debtors’ Objections. Under the payment structure proposed by the Debtors and the Committee of

Unsecured Creditors, at a minimum Underwriters’ $ 1,500,000 Policy would be divided by 23,,

the number of Individual Insureds who have to date filed claims under the Policy and each would

be allocated a 1/23rd share for their Defense Costs, which is equal to maximum $65,217. For all

intents and purposes such a plan would create 23 different sub-limits of coverage. Certain of the

Individual Insureds will likely significantly exceed that amount if they have not already exceeded

it and others may not. The objectors’ proposed Revised Order fails to consider not only what

happens if additional Individual Insureds submit claims to the Policy before the entire Policy

limits are exhausted, but how the excess carriers will treat claims of Individual Insureds when

one or more sub-limits are exhausted, but not all. No doubt the Individual Insureds will file

claims and seek advancement of Defense Costs with the excess carriers once their sub-limit is

exhausted. The resulting chaos from the imposition of a pro rata payment scheme would be

disastrous and would likely spawn insurance coverage litigation. In the alternative, should the



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Court rule in favor of the Objectors and require the pro rata payment of Defense Costs as proposed,

Underwriters respectfully request that they be permitted to interplead the full amount of the Policy

into the Registry of the Court and that an Administrator be appointed to administer the payments

being requested.

       13.     Underwriters have prepared the Revised Proposed Order attached hereto as Exhibit

A (the “Revised Proposed Order”) to address the requested changes by the Debtors and the

Committee of Unsecured Creditors and their agreement to certain of the changes in their respective

objections. A redline comparing the revisions to the initial proposed order filed with Underwriters’

Motion is attached hereto as Exhibit B.


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                                         CONCLUSION

          WHEREFORE, for the foregoing reasons, Underwriters respectfully request that the Court

enter the Revised Proposed Order, substantially in the form annexed hereto, granting the relief

requested in their Motion to Lift Stay and such other and further relief as the Court deems just and

proper.


Dated: June 25, 2023
       New York, New York                     KAUFMAN DOLOWICH & VOLUCK, LLP


                                              By:     Kevin J. Windels
                                              Kevin J. Windels, Esq.
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                                              Attorneys for Euclid Financial Institution
                                              Underwriters, LLC a duly authorized agent of
                                              Certain Underwriters at Lloyds of London and
                                              Republic Vanguard Insurance Company
          4890-2329-7132, v. 1




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                         Exhibit A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                            )        Chapter 11
                                                      )
    CELSIUS NETWORK LLC, et al.,1                     )        Case No. 22-10964 (MG)
                                                      )
    Debtors.                                          )        (Jointly Administered)
                                                      )

      [PROPOSED REVISED] ORDER GRANTING MOTION OF EUCLID FINANCIAL
        INSTITUTION UNDERWRITERS, LLC, A DULY AUTHORIZED AGENT OF
         CERTAIN UNDERWRITERS AT LLOYDS OF LONDON AND REPUBLIC
                      VANGUARD INSURANCE COMPANY
      FOR RELIEF FROM THE AUTOMATIC STAY, TO THE EXTENT APPLICABLE


             Upon the motion of Euclid Financial Institution Underwriters, LLC, a duly authorized

agent of Certain Underwriters at Lloyds of London and Republic Vanguard Insurance Company

(collectively “Underwriters”) Docket No. 2585 (Case No. 22-10964)2 for relief from the

Automatic Stay, to the extent applicable, seeking authority to reimburse from a Directors &

Officer’s Liability and Corporate Securities Liability insurance policy, Policy No. EFI1203088-

00, (the “Policy”) issued by Underwriters to one of the Debtors3, namely, Celsius Network, Inc.

(“Celsius Network”), for certain defense costs being incurred by the Individual Insureds under the

Policy issued to Celsius Network and its subsidiaries (collectively, “Celsius”), and notice of the


2
    Capitalized terms not defined herein shall have the same meaning ascribed to them in the Motion.
3
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius Mining
LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC (3390);
Celsius US Holding LLC (7956); GK8 USA LLC (9450); GK8 Ltd. (1209); and GK8 UK Limited (0893). The location
of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.




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motion having been properly given, and having considered all objections or other responses to the

motion (if any), and the Court having reviewed the motion pursuant to 11 U.S.C. §§362(d), 541(a)

and 105(a), and Fed. R. Bankr. P. 4001(a) and 9014, and found good cause to enter the relief

requested by the motion, now therefore,

IT IS HEREBY ORDERED
       1.  To the extent applicable, the automatic stay imposed by 11 U.S.C. §362(a) in the

respective proceedings is hereby modified solely to the extent necessary to allow Underwriters to

advance and/or make payments under the Policy for Defense Costs incurred by the Individual

Insureds who have been sued in an arbitration and in multiple state and federal court lawsuits

(including a draft of an adversary proceeding in this court), and who have received demand letters

and/or emails, subpoenas, formal and/or informal requests for documents and information or

formal letters, received subpoenas or formal letters announcing investigations or requests for

documents or information in connection with various investigations by multiple state and federal

regulators and/or Attorneys General, as well as from certain foreign regulators situated in Canada

and the United Kingdom, subject to Underwriters’ determination that the above are potentially

covered under the Policy and subject to a reservation of rights by Underwriters or by any of the

Insureds under the Policy and applicable law.

       2.      Nothing herein shall constitute a finding by the Court that the proceeds of the Policy

are or are not property of the Debtors’ estates, and the Court makes no finding as to the

applicability of the automatic stay imposed by 11 U.S.C. §362(a) to the Policy proceeds.

       3.      Underwriters shall provide written quarterly updates on the amount of Defense

Costs advanced on behalf of the Individual Insureds under the Policy to the U. S. Trustee, Kirkland

& Ellis LLP as counsel to the Debtors, and White & Case LLP as counsel to the Official Committee



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of Unsecured Creditors (the “Committee”) until the Limits of Liability of the Policy are fully

eroded. Such quarterly updates shall include, on a per individual basis, (1) the name of the

Individual Insured who received advances and/or payments; (2) the nature of the claim(s); (3) the

dollar amount of the claim(s) submitted and the amount actually advanced and/or paid; (4) the

identity of counsel representing the Individual Insured (if applicable); and (5) the amount of

liability coverage remaining under the Policy.

       4.       For the avoidance of doubt, this Order only authorizes Underwriters to make

advances and/or payments for the Defense Costs of the Individual Insureds. Nothing herein

authorizes Underwriters to make any payments in connection with any other type of Loss (i.e., a

non-Defense Cost Loss). A further order from this Court is required for the payment of any non-

Defense Costs Loss, including any settlement.

       5.      Nothing herein shall prejudice the current or future position of Underwriters or any

Insured under the Policy, and the parties reserve all rights, with respect to (1) the appropriateness

of any obligation on Underwriters or restriction on the operation of the Policy contemplated by

this Order; or (2) the appropriateness of any other obligation on Underwriters or restriction on the

operation of the Policy. The parties also reserve their rights to seek to modify this order.

       6.      Any and all advancements or payments by Underwriters shall reduce the Policy’s

Limits of Liability in a like amount to the extent permitted under the terms and conditions of the

Policy, unless or until such amounts are repaid to Underwriters.

       7.      Nothing in this Order shall constitute (1) a waiver, modification or limitation of

Underwriters’ reservation of all rights, remedies and defenses under the Policy and otherwise; (2)

a waiver, modification or limitation of any of the terms or conditions of the Policy; or (3) a finding

that such sums are due and owing, or in what amount, under the Policy. Similarly, nothing in this


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Order shall constitute a waiver, modification of limitation of any rights of the U.S. Trustee or any

other Insured under the Policy.

         8.       This Order is immediately valid and fully effected upon its entry and the 14 day

stay pursuant to Fed. R. Bankr. Proc. 4001(a) is hereby waived.

         9.       This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.


SO ORDERED.


Date: June ___, 2023
      New York, New York

                                                  _____________________________
                                                  MARTIN GLENN, U.S.B.J.
                                                  Chief United States Bankruptcy Judge
4873-6870-9740, v. 1




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                         Exhibit B
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                            )        Chapter 11
                                                      )
    CELSIUS NETWORK LLC, et al.,1                     )        Case No. 22-10964 (MG)
                                                      )
    Debtors.                                          )        (Jointly Administered)
                                                      )

      [PROPOSED REVISED] ORDER GRANTING MOTION OF EUCLID FINANCIAL
        INSTITUTION UNDERWRITERS, LLC, A DULY AUTHORIZED AGENT OF
         CERTAIN UNDERWRITERS AT LLOYDS OF LONDON AND REPUBLIC
                      VANGUARD INSURANCE COMPANY
      FOR RELIEF FROM THE AUTOMATIC STAY, TO THE EXTENT APPLICABLE


             Upon the motion of Euclid Financial Institution Underwriters, LLC, a duly authorized

agent of Certain Underwriters at Lloyds of London and Republic Vanguard Insurance Company

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Automatic Stay, to the extent applicable, seeking authority to reimburse from a Directors &

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    Capitalized terms not defined herein shall have the same meaning ascribed to them in the Motion.
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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
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of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these chapter 11
cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.




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motion having been properly given, and having considered all objections or other responses to the

motion (if any), and the Court having reviewed the motion pursuant to 11 U.S.C. §§362(d), 541(a)

and 105(a), and Fed. R. Bankr. P. 4001(a) and 9014, and found good cause to enter the relief

requested by the motion, now therefore,

IT IS HEREBY ORDERED
       1.  To the extent applicable, the automatic stay imposed by 11 U.S.C. §362(a) in the

respective proceedings is hereby modified solely to the extent necessary to allow Underwriters to

advance and/or make payments under the Policy for Defense Costs incurred by the Individual

Insureds who have been sued in an arbitration and in multiple state and federal court lawsuits

(including a draft of an adversary proceeding in this court), and who have received demand letters

and/or emails, subpoenas, formal and/or informal requests for documents and information or

formal letters, received subpoenas or formal letters announcing investigations or requests for

documents or information in connection with various investigations by multiple state and federal

regulators and/or Attorneys General, as well as from certain foreign regulators situated in Canada

and the United Kingdom, subject to Underwriters’ determination that the above are potentially

covered under the Policy and subject to a reservation of rights by Underwriters or by any of the

Insureds under the Policy and applicable law.

       2.      Nothing herein shall constitute a finding by the Court that the proceeds of the Policy

are or are not property of the Debtors’ estates, and the Court makes no finding as to the

applicability of the automatic stay imposed by 11 U.S.C. §362(a) to the Policy proceeds.

       3.      Underwriters shall provide written quarterly updates on the amount of Defense

Costs advanced on behalf of the Individual Insureds under the Policy to the U. S. TrusteeTrustee,

Kirkland & Ellis LLP as counsel to the Debtors, and White & Case LLP as counsel to the oOfficial



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cCommittee of uUnsecured Ccreditors (the “Committee”) until the Limits of Liability of the

Policy are fully eroded. Such quarterly updates shall include, on a per individual basis, (1) the

name of the Individual Insured who received advances and/or payments; (2) the nature of the

claim(s); (3) the dollar amount of the claim(s) submitted and the amount actually advanced and/or

paid; (4) the identity of counsel representing the Individual Insured (if applicable); and (5) the

amount of liability coverage remaining under the Policy.

       3.4.     For the avoidance of doubt, this Order only authorizes Underwriters to make

advances and/or payments for the Defense Costs of the Individual Insureds. Nothing herein

authorizes Underwriters to make any payments in connection with any other type of Loss (i.e., a

non-Defense Cost Loss). A further order from this Court is required for the payment of any non-

Defense Costs Loss, including any settlement.

       4.5.    Nothing herein shall prejudice the current or future position of Underwriters or any

Insured under the Policy, and the parties reserve all rights, with respect to (1) the appropriateness

of any obligation on Underwriters or restriction on the operation of the Policy contemplated by

this Order; or (2) the appropriateness of any other obligation on Underwriters or restriction on the

operation of the Policy. The parties also reserve their rights to seek to modify this order.

       5.6.    Any and all advancements or payments by Underwriters shall reduce the Policy’s

Limits of Liability in a like amount to the extent permitted under the terms and conditions of the

Policy, unless or until such amounts are repaid to Underwriters.

       6.7.    Nothing in this Order shall constitute (1) a waiver, modification or limitation of

Underwriters’ reservation of all rights, remedies and defenses under the Policy and otherwise; (2)

a waiver, modification or limitation of any of the terms or conditions of the Policy; or (3) a finding

that such sums are due and owing, or in what amount, under the Policy. Similarly, nothing in this


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Order shall constitute a waiver, modification of limitation of any rights of the U.S. Trustee or any

other Insured under the Policy.

         7.8.     This Order is immediately valid and fully effected upon its entry and the 14 day

stay pursuant to Fed. R. Bankr. Proc. 4001(a) is hereby waived.

         8.9.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.


SO ORDERED.


Date: June ___, 2023
      New York, New York

                                                         _____________________________
                                                         MARTIN GLENN, U.S.B.J.
                                                         Chief United States Bankruptcy Judge
4873-6870-9740, v. 14876-7128-8684, v. 14895-1619-9009, v. 2




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